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                          EXHIBIT A
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             CORPORATION FILE DETAIL REPORT
              File Number                    61597999

              Entity Name                    THE RECEIVABLE MANAGEMENT SERVICES CORPORATION

              Status                         ACTIVE

              Entity Type                    CORPORATION                     Type of Corp                FOREIGN BCA

              Qualification Date             04/20/2001                      State                       DELAWARE
             (Foreign)

              Agent Name                     C T CORPORATION SYSTEM          Agent Change Date           04/20/2001

              Agent Street Address           208 SO LASALLE ST, SUITE 814    President Name & Address    DAN MONTENARO 200
                                                                                                         CENTRAL AVE7TH FL ST
                                                                                                         PETERSBURG FL 33701

              Agent City                     CHICAGO                         Secretary Name & Address    DAN MONTENARO 200
                                                                                                         CENTRAL AVE7TH FL ST
                                                                                                         PETERSBURG FL 33701

              Agent Zip                      60604                           Duration Date               PERPETUAL

              Annual Report Filing           03/30/2017                      For Year                    2017
             Date

              Assumed Name                   INACTIVE ­ DUN & BRADSTREET RECEIVABLE MANAGEMENT SERVICES
                                                                                                        
             Return to the Search Screen




                                                                                                 (One Certificate per Transaction)


             OTHER SERVICES




   
                                                        BACK TO CYBERDRIVEILLINOIS.COM HOME PAGE


https://www.ilsos.gov/corporatellc/CorporateLlcController                                                                            1/1
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                         EXHIBIT B
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